Exhibit A to MIL 7

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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF TENNESSEE

JOHN RUFFINO and MARTHA RUFFINO,
Husband and Wife,

Plaintiffs, Civil Action No.: 3:17-cv-00725

Jury Demand

Judge Waverly D. Crenshaw
DR. CLARK ARCHER and HCA HEALTH
SERVICES OF TENNESSEE, INC. d/b/a
STONECREST MEDICAL CENTER,

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)
) Magistrate Judge Alistair Newbern
)

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)

Defendants.
THE PLAINTIFFS’ SUPPLEMENTAL RESPONSES TO THE FIRST SET OF

REQUESTS FOR PRODUCTION OF DOCUMENTS PROPOUNDED
BY HCA HEALTH SERVICES OF TENNESSEE, INC.

Come now the Plaintiffs and supplement their responses to the First Set of Requests for

Production of Documents propounded by HCA Health Services of Tennessee, Inc.:

REQUESTS FOR PRODUCTION

2. Please produce for inspection and copying each and every physician, hospital, and
medical bill for which recovery is sought in this action.

RESPONSE; Please see attached supplemental documentation,

7. Please produce for inspection and/or copying each and every document outlining the
events set forth in the Complaint, including but not limited to diaries, journals, or any other personal
notes.

RESPONSE: Please see attached supplemental documentation.

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Respectfully submitted,

Brian Cummings, #19354—

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Attorneys for the Plaintiffs

CERTIFICATE OF SERVICE

I hereby certify that on July 21, 2017, a true and correct copy of the foregoing was
forwarded via U.S. Mail to the following:

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Counsel for HCA Health Services of Tennessee,
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